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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                  §
 In re:                                           §   Chapter 11
                                                  §
 NB LOFT VUE, DST, ET AL.,                        §   Case No. 21-32292
                                                  §
                         Debtors.                 §   (Jointly Administered)
                                                  §

                  NOTICE OF FILING OF PROOF OF UTILITY PAYMENTS

          At the conclusion of the October 28-29, 2021 evidentiary hearing on Fannie Mae’s Motion

for Relief from the Automatic Stay as to Property of Debtor NB Vue Mac, DST (Docket No. 89)

and Fannie Mae’s Motion for Relief from the Automatic Stay as to Property of Debtor NB Loft

Vue, DST (Docket No. 90), the Court ordered that by November 5, 2021, the Debtors file with the

Court and serve on Fannie Mae proof of utility payments on both the Loft Vue and Vue Mac

properties through September 2021. Initial documents evidencing such utility payments are

attached hereto. The Debtors intend to supplement these disclosures prior to the hearing on

November 8, 2021 (particularly with respect to Conservice, which provides water, electric, and

sewer to both properties and auto-debits its payments from the Debtors’ bank accounts) and

provide additional information to the Court concerning the payment of utilities at the properties at

the hearing on November 8, 2021.

          RESPECTFULLY SUBMITTED this 5th day of November, 2021.




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